Case 1:21-cv-00184-MW-GRJ Document 45-3 Filed 12/17/21 Page 1 of 9




                    Exhibit C
         Case 1:21-cv-00184-MW-GRJ Document 45-3 Filed 12/17/21 Page 2 of 9




         THE CHRONICLE OF HIGHER EDUCATION



 ACADEMIC FREEDOM




 Florida's Flagship Is Beset With
 Controversy. Its Board Says
 Everything Is Fine.
Allegations of political interference are "100 percent false," the
chairman says, and faculty should be grateful for legislative
appropriations.
By Jack Stripling
DECEMBER 3, 2021
          Case 1:21-cv-00184-MW-GRJ Document 45-3 Filed 12/17/21 Page 3 of 9




                                                            ZACHARIAH CHOU, COURTESY OF THE ALLIGATOR

Morten (Mon) Hosseini, chairman of the U. of Florida Board of Trustees, on Friday said Florida's
governor had "absolutely zero" role in recent controversy at the flagship. Hosseini, seen here at a
board meeting last year, was unmasked at the meeting Friday, along with the rest of the board.


In a fiery response to criticism that the University of Florida improperly barred
professors from testifying against the state in a voting-rights case, the chairman of the
university's Board of Trustees on Friday denied having had any influence on the
decision and stated unequivocally that Florida's Republican governor had played
"absolutely zero" role in the matter.


The university came under fire in late October after The New York Times first
that administrators, applying the university's conflict-of-interest policy, had blocked
professors from serving as expert witnesses in litigation against the state. Doing so,
professors were told, would be "adverse to UF's interests." The case raised immediate
         Case 1:21-cv-00184-MW-GRJ Document 45-3 Filed 12/17/21 Page 4 of 9
concerns over academic freedom, and within days the university reversed its decision
and said the professors were free to testify.

Reading from a lengthy prepared statement, Morteza (Mori) Hosseini, the board's
chairman, pushed back on Friday against what he described as a false narrative that
Ron DeSantis, the state's governor, had sought to block the professors from testifying.
Hosseini, whom DeSantis appointed to the board, added that he and his board
colleagues had not acted on the governor's behalf in the case.

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"While the media has suggested the governor has played some role through this
relationship with me in UF's decision on outside activities and conflict of interest, let's
be clear: That is a hundred percent false," Hosseini said. "Neither I nor any other
member of this board, the governor nor any legislator, had any influence on specific
decisions on outside activities and conflict of interest. Period. The first I learned about
these decisions was when I read the story in the paper."

In response to criticism, W. Kent Fuchs, the president, established a task force to
review its conflict-of-interest policy. Fuchs accepted the group's recommendations
that the university operate with the "strong presumption" that it will approve requests
from faculty and staff members to testify as private citizens in litigation that involves
the State of Florida, "regardless of the viewpoint" of the testimony. Under the
recommendations, denials can only be made with "clear and convincing evidence" of
a particular harm that the testimony could bring to the university.
          Case 1:21-cv-00184-MW-GRJ Document 45-3 Filed 12/17/21 Page 5 of 9
In his defense of the board, Hosseini said that the trustees had no interest in
squelching free speech. Changes in recent years to the university's conflict-of-interest
policy, he said, were instead precipitated by concern that some professors were
profiting from outside work on university time, Hosseini said.


"As UF was learning about these faculty members who were moonlighting across the
world and not disclosing their outside activities to UF, and sometimes not in their
classrooms or their labs for many months out of the year," he said, "we realized we
needed to make improvements to the outside-activities approval processes and the
monitoring of their commitments."


Hosseini went on to blast faculty members who, in response to the controversy, have
called on donors to withhold money from the university.


"I am also personally very disappointed in local faculty-union leadership who are
actively encouraging donors to stop contributing to the university," he said, "and who
are actively encouraging university presidents and provosts around the country to
downgrade their reputation assessment of the University of Florida in ranking
surveys. All of that damages their fellow faculty members and students we serve."


In his comments, which were praised thereafter by his fellow board members,
Hosseini did little to engage with some of the central critiques that have arisen in the
wake of revelations about the university having blocked professorial testimony —
essentially casting the debate as a news-media creation. Faculty critics have argued
that the potential for offending the state's reigning political authorities ought not to
have been considered a legitimate conflict of interest, and that the university's
administration is overly deferential to the perceived desires of conservative politicians
in the state.


The case has put the University of Florida, which has seen its national reputation and
rankings rise in recent years, at the center of prickly debate over the state of academic
         Case 1:21-cv-00184-MW-GRJ Document 45-3 Filed 12/17/21 Page 6 of 9
freedom in a polarized political environment. The university's regional accrediting
agency and a congressional subcommittee have said they will investigate the matter.
Six professors have joined a lawsuit against the university. The plaintiffs include
Sharon Austin, Michael McDonald, and Daniel Smith, the three professors who were
initially barred from testifying; along with Jeffrey Goldhagen, a pediatrics professor,
and the law professors Kenneth Nunn and Teresa Reid.

The debate over expert testimony is among several recent controversies at the
University of Florida that have raised concerns about political interference. Fuchs
drew criticism, for example, for not mandating this semester that students and
employees wear masks indoors to prevent the spread of Covid-19 — something Fuchs
said state rules forbade him to do. (None of the university's trustees or Fuchs wore
masks at the meeting on Friday.)

This week, the faculty union filed a grievance stating that professors had been told
they should hold off on creating a doctoral concentration titled "Critical Study of
Race, Ethnicity, and Culture in Education" because it could invite a backlash from
lawmakers opposed to the teaching of critical race theory.

In a brief interview with The Chronicle after the meeting, Hosseini reiterated that there
had been "absolutely zero" political interference in this case. When asked if he
thought there was any merit to the concern that university administrators were overly
deferential to political actors in the state, Hosseini said, "I don't think so, but at the
end of the day, the legislature, the taxpayers of Florida, the people that are funding us,
we have to look at what the needs of our students are. We can't just in the abstract
make decisions. You have to take everything into consideration."

At several points during Friday's meeting, Florida's trustees sounded surprised or
disappointed that faculty members, who have been awarded pay raises and seen
benefits increase — expansions in "Baby Gator" day care were mentioned several
times — were feeding into a political controversy that they saw as without merit.
         Case 1:21-cv-00184-MW-GRJ Document 45-3 Filed 12/17/21 Page 7 of 9
"These things," Hosseini said of faculty benefits, "were all made possible through the
support of our state leaders."


Hosseini's fellow board members echoed his sentiments, praised his leadership
profusely, and spoke about trying to correct what they saw as an inaccurate public
narrative that has in recent months engulfed the university.


"I'm wondering if we should in a more visible way clear up the facts demonstrating
our commitment to academic freedom," said Rahul Patel, a trustee, "and reiterating
that nobody on this board has in any way influenced any specific decisions around
academic freedom, as has been reported in the media — and perhaps otherwise
acknowledging that, with the exception of a few vocal-minority faculty, we are in sync
100 percent with our faculty." After the trustees concluded their remarks, the
chairman asked Fuchs if he had anything to say about the controversy. He declined to
say anything, and a university spokesman told The Chronicle that the president would
not speak to a reporter after the meeting.


Thomas G. Kuntz, the board's vice chairman, told The Chronicle that none of the
recent controversy had raised concern for him about academic freedom. "I don't
think anybody was suggesting anybody's freedom of speech be stifled — in fact, to the
contrary," he said.


Nor did Kuntz feel any political pressure about the professors testifying in the voting-
rights case, he added.


"I haven't had a conversation about this with a single politician anywhere," he said. "I
learned about it from my sister."


Emma Pettit contributed reporting.
         Case 1:21-cv-00184-MW-GRJ Document 45-3 Filed 12/17/21 Page 8 of 9
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